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IN THE UNITED STATES DISTRICT COURT ‘:H~"~'» L£€
FOR THE WESTERN DISTRICT OF TENNESSEE f ( _ _. z

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MlD-SOUTH CHAPTER OF PARALYZED )
VETERANS OF AMERICA, KEITH MORRIS, )
CARL FLEMONS, TOM HAFFORD, and )
LARRY HALE, )
)
Plaintiffs, )
)

v. ) Docker No. 04-€\/_2353 Ml/v

)
NEW MEMPHIS PUBLIC BUILDING )
AUTHORITY OF MEMPHIS & SHELBY )
COUNTY-, CITY 0F MEMPHIS, TENNESSEE; )
SHELBY COUNTY, TENNESSEE, and )
HOOPS, L.P., )
)
Defendants. )

 

ORDER GRANTING DEFENDANT PBA’S
MOTION TO ADD A THIRD PARTY DEFENDANT

 

Before the Court is Defendant PBA’s Motion to Add a Third Party Defendant. For good
cause shown, Defendant PBA’s Motion to add Ellerbe Beckett as a Third-Party Defendant is

GRANTED.

§l" .
ITIS so ORDEREDrhiS 3 g day Of ZCM ,2005.
p©\/f m /z. ZLJ<' /4/¢'

UNITED STATES BI'S-T~R-IGT JUDGE

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Honorable J on McCalla
US DISTRICT COURT

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